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17
                                  UNITED STATES DISTRICT COURT
18
                                        DISTRICT OF NEVADA
19
      Cung Le, Nathan Quarry, Jon Fitch, Brandon       Case No.: 2:15-cv-01045-RFB-(PAL)
20    Vera, Luis Javier Vazquez, and Kyle
21    Kingsbury on behalf of themselves and all
      others similarly situated,                       APPENDIX OF EXHIBITS IN
22                                                     SUPPORT OF ZUFFA, LLC’S MOTION
                    Plaintiffs,                        TO EXCLUDE THE TESTIMONY OF
23           v.                                        PLAINTIFFS’ EXPERT GUY DAVIS
                                                       UNDER FED. R. EVID. 702 AND
24    Zuffa, LLC, d/b/a Ultimate Fighting              DAUBERT
25    Championship and UFC,
                                                       [FILED UNDER SEAL]
26                  Defendant.

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                  APPENDIX OF EXHIBITS IN SUPPORT OF ZUFFA, LLC’S MOTION
     Case 2:15-cv-01045-RFB-BNW Document 517-1 Filed 02/16/18 Page 2 of 2



                                       APPENDIX OF EXHIBITS

 1            Pursuant to Local Rule IA 10-3(d), Defendant Zuffa, LLC submits this Appendix of

 2    Exhibits in Support of Zuffa, LLC’s Motion to Exclude the Testimony of Plaintiffs’ Expert Guy

 3    Davis Under Fed. R. Evid. 702 and Daubert. The documents listed below are attached as exhibits

 4    to the Declaration of Nicholas A. Widnell in Support of Zuffa, LLC’s Motion to Exclude the

 5    Testimony of Plaintiffs’ Expert Guy Davis Under Fed. R. Evid. 702 and Daubert.

 6     Exhibit                               Description                                  Date

 7        1      Expert Opening Report of Guy A. Davis                                 8/31/2017
          2      Transcript Excerpts from First Deposition of Guy A. Davis             9/19/2017
 8        3      Expert Rebuttal Report of Guy A. Davis                                1/12/2018
          4      Transcript Excerpts from Second Deposition of Guy A. Davis            1/30/2018
 9        5      Expert Opposition Report of Elizabeth Kroger Davis                    10/27/2017
10

11    DATED: February 16, 2018                   BOIES SCHILLER & FLEXNER LLP

12
                                                 By: /s/ Nicholas A. Widnell
13                                                   Nicholas A. Widnell
                                                     Attorney for Defendant Zuffa, LLC, d/b/a
14                                                   Ultimate Fighting Championship and UFC
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                 APPENDIX OF EXHIBITS IN SUPPORT OF ZUFFA, LLC’S MOTION
